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                               DECLARATION OF SOJIN YOON

        I, Sojin Yoon, hereby certify as follows:

        1.       I am an associate of the firm of Kelley Drye & Warren LLP, which is located at

101 Park Avenue, New York, New York 10178.

        2.       I have been admitted to practice before the following courts on the dates

indicated:

                                                                              DATE ADMITTED

Supreme Court of the State of New York, Appellate Division, First Department          6/23/09

United States District Court for the Southern District of New York                    12/15/09

United States District Court for the Eastern District of New York                     12/15/09

        3.       1 am an attorney in good standing and eligible to practice in the above-referenced

jurisdictions.

        4.       I have not been suspended or disbarred in any jurisdiction, and no disciplinary

actions are pending against me.

        5.       A certificate of good standing for the United States District Court for the Southern

District of New York is attached hereto.

        6.       I am familiar with the Local Rules of the United States District Court for the

District of Massachusetts and agree to abide by them.

        I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct. Executed on March 8, 2010.

                                               By:
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CSDNY (11/99.) Certificate of Good Standing




                              United States District Court
                                              Southern District of New York

                                                                                  Certificate of
                                                                                  Good Standing

1, J. Michael McMahon Clerk of this Court, certify that



                                    SOHN YOON                                , Bar #   SY1326




                     was duly admitted to practice in this Court on




  DECEMBER 15th, 2009 , and is in good standing



                                              as a member of the Bar of this Court.




                     500 Pearl Street
Dated at             New York New York                       on          MARCH 9th, 2010
